Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 1 of 45




                                               Exhibit E
  Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 2 of 45




 Gerald J. Pappert, Attorney General
 CORIRIONWEALTH      OF P E N N S ~ V A M A
 1 6 Floor,
      ~ ~ Strawberry Square
 Harrisburg, PA 17120


IN THE COMMONWEALTH COURT O F PENNSYLVANIA



 COMMONWEALTH O F PENNSYLVANIA
 by GERALDJ. PAPPERT,in his capacity as
 Attorney General of the Colnlnonwealth of
 Pennsylvania,
                              PLAINTIFF.
                                                            No.:


 TAP PHARRIACEUTICAL   PRODUCTS,  INC.; ABBOTT
 LABORATORIES; TAKEDACHEMICALINDUSTRIES,
 LTD.; ASTRAZENECA  PLC; ZENECA,INC.;
 ASTRAZENECA PHARRIACEUTICALS     LP;
 ASTRAZENECA LP; BAYERAG; BAYER
 CORPORATION; GLAXOSIVIITHKLINE,   P.L.C.;
 SRIITHKLINEBEECHAIVI CORPORATION;    GLAXO
 WELLCOME,INC.; PFIZER,INC.; PHARRIACIA
 CORPORATION; JOHNSON   & JOHNSON;  ARIGEN,INC.;
 BRISTOL-MYERS  SQUTBB  CORIPANY;  BAXTER
 INTERNATIONAL INC.; AVENTISPHARRIACEUTICALS,
 INC.; BOEHRINGERI N G E L H E CORPORATION;
                               ~I
 SCHERING-PLOUGH  CORPORATION;    DEY,INC.,
                           DEFENDANTS.

                                CIVIL ACTION COMPLAINT

       The Co~mnonwealthof Pennsylvania, by and through its Attorney General [hereinafter Athe

Commonwealtk], brings this action on behalf of the Commonwealth=s general economy and the

departments, bureaus and agencies of the Colnlnonwealth as injured purchasers andor reilnbursers

of prescription drugs, and as representative of, and as parens patriae on behalf of the citizens of

Pennsylvania [hereinafter APennsylvania Cons~uners~],
                                                  to obtain compensatory, punitive and other
    Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 3 of 45




damages, restitution, civil penalties, injunctive and other equitable relief, as more fully set forth

below, and, upon information and belief, avers as follows:

                                        INTRODUCTION

       I.      Since 2001, federal criminal and civil actions against various prescription drug

companies naned herein' [the ACrilninal ~ctions-1' have returned billions of dollars to the federal

treasury. To date, however, the Colnlnonwealth has not been fully compensated for the harm caused

by the admittedly wrongful conduct of these drug companies in the Crllninal Actions, and no

Pennsylvania Consumers have been compensated              This lawsuit seeks to recover for the

Colnlnonwealth and Pennsylvania Consumers the money wrongfully paid for overcharges in the cost

of prescription drugs as a result of the wrongful conduct detailed herein since at least 1991 through

the present [Athe relevant time period-].


I
       The drug companies naned in the Criminal Actions are TAP Phar~naceuticalProducts, Inc.
(ATAE), Zeneca, Inc., AstraZeneca Phar~naceuticalsLP and AstraZeneca LP (collectively
AAstraZenecs), Bayer Corporation ( A B a y e ~ )GlaxoSlnithKline
                                                ,                ( A G S e ) and Pfizer Corporation
(APfizer). [These defendants are collectively referred to in this Complaint as the ACrilninal
Defendants.-]
2
       The Crllninal Actions are: USA v. TAP Pharmacezrtical Prodz4ct.s Inc., I :01cr10354-WGY
(D. Mass.); USA v. AstraZeneca Pharmacez4tical.s LP, I :03cr00055(D. Del.); USA v. Bayer Corp.,
1:03-cr-10118-RGS (D. Mass.); USA v. SmithKlineBeecham Corp. d/b/a GlaxoSmithKline (D.
Mass.); and USA v. Pfizer Inc. (D. Mass.).
  Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 4 of 45




          2.   As part of the aforesaid Criminal Actions, seven (7) of the principal drug companies

named in this lawsuit pled guilty to andlor agreed to settle criminal charges of having engaged in

unlawful marketing and sales practices with respect to certain of their prescription drugs rellnbursed

under federal programs, such as Medicare, and state programs, such as Medicaid, and they paid

record fines and civil penalties for this admittedly wrongful conduct.

          3.   As to the admittedly wrongful conduct of these Crllninal Defendants, the

Colnlnonwealth was partially compensated by the settlements of the Criminal Actions for losses

suffered by the Statees Medicaid Program for certain drugs of the Crllninal Defendants that were

rellnbursed under the Pennsylvania Medicaid Program. These drugs are Lupron7, zoladex7,

K O ~ T E ~Kogenate7,
            ,         cipro7, ~ l o n a s e ~paxi17,
                                              ,      and Lipitor7 [the ASubject Drugs-].         The

Colnlnonwealth seeks by this action to compel the Criminal Defendants to make full restitution

under the laws of Pennsylvania to the Colnlnonwealth for all payments made for the Subject Drugs

by the Commonwealth, other than the Co~ntnonwealth=sMedicaid payments, and for all payments

[both Medicaid and non-Medicaid] made by the Colnlnonwealth for all other drugs manufactured,

distributed, marketed and sold by the Crllninal Defendants that are subject to the clallns set forth

herein.

          4.   Since no Pennsylvania Constuner has been compensated by the Crllninal Actions for

any payments made for the Subject Drugs, the Colntnonwealth also seeks by this action to compel

the Criminal Defendants to make full restitution to Pennsylvania Constuners for all drug

overpayments, including payments for the Subject Drugs, suffered as a result of the wrongful

conduct of the Criminal Defendants.
  Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 5 of 45




       5.      Lastly, the Colmnonwealth seeks to prohibit and permanently enjoin such wrongful

conduct in the future and thereby gain the benefit of significant savings.

       6.      The Colnlnonwealth believes and therefore avers that all of the drug companies

named in this lawsuit have engaged in a long-standing and far-reaching pattern of wrongful conduct

with respect to their marketing and sales of prescription drugs in the Colnlnonwealth of

Pennsylvania. With regard to at least 7 companies, this wrongful conduct has been confirmed by

guilty pleas andor legal settlements.

       7.      In brief, the drug companies named in this lawsuit have engaged in an unfair and

deceptive marketing and sales scheme and conspiracy to provide improper incentives and

inducements to medical providers and other purchasers oftheir prescription drugs and drug products

[collectively A d r u g s ~ to
                            ] promote the sale of Defendants= drugs at inflated prices throughout the

Colnlnonwealth of Pennsylvania to the detriment of both the Colmnonwealth and Pennsylvania

Constuners. This unfair and deceptive marketing and sales scheme and conspiracy caused harm to

the Colmnonwealth and Pennsylvania Constuners by causing the Colmnonwealth and Pennsylvania

Constuners to pay significantly more for Defendants= drugs than they otherwise would have paid in

the absence of Defendants= wrongful conduct.

       8.      This case does not concern the efficacy of the drugs and drug products sold by the

Defendants. Instead, this lawsuit seeks legal redress for the unfair and deceptive marketing and sales

acts and practices of the named Defendant pharmaceutical companies who have profited from their

wrongful acts and practices at the expense of the Colnlnonwealth and Pennsylvania Consumers. As

a result of Defendants= wrongful conduct, the Colnlnonwealth and Pennsylvania Constuners have

suffered.
  Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 6 of 45




                        THE PARTIES, JURISDICTION AND VENUE

                                              PLAINTIFF

       9.       Plaintiff is the Colnlnonwealth of Pennsylvania. The Colnlnonwealth brings this

action by its Attorney General, Gerald J. Pappert, in its capacity as sovereign and in its proprietary

capacity on behalf of departments, bureaus and agencies ofthe Colnlnonwealth and as representative

of, and as parens patriae on behalf of, Pennsylvania Consluners.

        10.     The Attorney General, as the chief law officer ofthe Colmnonwealth of Pennsylvania

pursuant to Article IV 3 4.1 of the Pennsylvania Constitution, is statutorily authorized to initiate and

maintain this action, and does so, pursuant to the Colmnonwealth Attorneys Act, 71 PA. STAT.3

732-204 and the Unfair Trade Practice and Consluner Protection Law, 73 PA.STAT.33 201.1, et sey.

This action is also maintained pursuant to the Attorney Generalks common law parens patriae

powers.

        I I.    The Attorney General deems these proceedings to be in the public interest pursuant to

73 PA. STAT.3 201-4.

                                            DEFENDANTS

        12.     The Defendants named in this Complaint include all oftheir predecessor entities and

all their past and present component, subsidiary and affiliate entities.

        13.     The acts alleged in this Complaint to have been done by each of the Defendants were

authorized, ordered, done andor ratified by their respective officers, directors, agents, employees or

representatives while engaged in the management, direction, control or transaction of their respective

business affairs.
  Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 7 of 45




                                        The TAP Defendants

        14.    Defendant, TAP Phar~naceuticalProducts, Inc. (ATAP-), is an Illinois corporation

with its principal place of business located at 675 North Field Drive, Lake Forest, Illinois.

        15.    Defendant, Abbott Laboratories (AAbbott-), is an Illinois corporation with its

principal place of business located at 100 Abbott Park Road, Abbott Park, Illinois. Abbott owns

50% of TAP, and Abbott executives comprise 50% of TAP=s Board of Directors.

        16.    Defendant, Takeda Chemical Industries, Ltd. (ATakeda-), is a Japanese company

with its principal place of business located at 1-1 Dosholnachi 4-chome, Chuo-ku, Osaka, Japan.

Takeda owns 50% of TAP, and Takeda executives comprise 50% of TAP=s Board of Directors.

        17.    TAP, Abbott and Takeda (collectively, the ATAP Defendants-) are highly diversified

healthcare companies that individually, and in co~nbinationwith one another, engage in the business

of manufacturing, distributing, marketing and selling prescription drugs purchased andor reimbursed

by the Colnlnonwealth and Pennsylvania Consumers. The drugs of the TAP Defendants include

~ u ~ r (leuprolide
         o n ~      acetate for depot suspension), which is used in the treatment of prostate cancer

in men, endolnetriosis and infertility in women, and central precocious puberty in children, as well as

prevacid7 and calcijex7, among others.

                                    The AstraZeneca Defendants

        18.    Defendant, AstraZeneca PLC (AAstraZeneca PLC-), is a British corporation with its

principal place of business located at 15 Stanhope Gate, London W I K ILN, U.K. AstraZeneca PLC

was formed on April 6, 1999 through the merger of Astra AB of Sweden and Zeneca Group PLC of

the United Kingdom. Until April 1999, Defendant Zeneca, Inc. (AZeneca-), a Delaware corporation
  Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 8 of 45




with its principal place of business located at 1800 Concord Pike, Wilmington, Delaware, was a

subsidiary of Zeneca Group PLC (UK).

       19.     Defendant, AstraZeneca Phar~naceuticalsLP (AAstraZenecs), is a Delaware lllnited

partnership with its principal place of business located at 1800 Concord Pike, Wihnington,

Delaware.

       20.     Defendant, AstraZeneca LP (AAstraZeneca LP-), is a Delaware lllnited partnership

with its principal place of business located at 725 Chesterbrook Boulevard, Wayne, Pennsylvania.

       21.     AstraZeneca PLC, Zeneca, AstraZeneca, and AstraZeneca LP (collectively, the

AAstraZeneca Defendants-) are highly diversified healthcare companies that individually, and in

combination with one another, engage in the business of manufacturing, distributing, marketing and

selling prescription drugs purchased andor reimbursed by the Colnlnonwealth and Pennsylvania

Consluners. The drugs of the AstraZeneca Defendants include zoladex7(goserelin acetate), which is

used in the treatment of prostate cancer in men, endolnetriosis and infertility in women, and central

precocious puberty in children, as well as cefotan7, Elavil Injection, Faslodex7, Foscavir7, err em^,

~ e n o r ~ nInjection
              in~      and Xylocaine Injection, among others.

                                       The Baver Defendants

       22.     Defendant, Bayer AG (ABayer AGE), is a German corporation with its principal place

of business located at 51368 Leverkusen, Germany. Bayer AG acquired Cutter Laboratories, Inc.

( A C u t t e ~in
               ) 1974 and Miles Laboratories, Inc. (AMiles~)in 1978 and the two companies are now

subsidiaries of Bayer AG.

       23.     Defendant, Bayer Corporation ( A B a y e ~ )is, a Delaware corporation with its principal

place of business located at 100 Bayer Road, Pittsburgh, Pennsylvania.

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  Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 9 of 45




       24.      Bayer AG and Bayer (collectively, the ABayer Defendants-) are highly diversified

healthcare companies that individually, and in combination with one another, engage in the business

of manufacturing, distributing, marketing and selling prescription drugs purchased andor reimbursed

by the Colnlnonwealth and Pennsylvania Consluners. The drugs of the Bayer Defendants include

viadur7 (leuprolide acetate implant), a drug that is licensed from Alza Corporation, a subsidiary

company of Defendant Johnson & Johnson, and treats prostate cancer in men, and as well as

K O ~ T E~~ o, ~ e n a tcipro7,
                         e ~ , ~ l o n a s eand
                                            ~ , paxi17, anong others.

                                        The GSK Defendants

       25.      Defendant, GlaxoSlnithKline P.L.C. (AGlaxoSmithKline-), is an English public

limited company with its principal place of business located at 980 Great West Road, Brentford,

Middlesex, TWX 9GS, England. With the merger of Glaxo Wellcome, h c . and SlnithKline

Beechan Corporation in 2000, GlaxoSlnithKline became the second largest drug company in the

world today.

       26.      Defendant Glaxo Wellcome, h c . (AGlaxo-), is a North Carolina corporation with its

principal place of business located at 5 Moore Drive, Research Triangle Park, North Carolina.

       27.      Defendant SlnithKline Beecham Corporation (ASmithKline-), is a Pennsylvania

corporation with its principal place of business located at One Franklin Plaza, 200 North 16" Street,

Philadelphia, Pennsylvania.

       28.      GlaxoSmithKline, SlnithKline and Glaxo (collectively, the AGSK Defendants-) are

highly diversified healthcare companies that individually, and in combination with one another,

engage in the business of manufacturing, distributing, marketing and selling prescription drugs

purchased andor reimbursed by the Colnlnonwealth and Pennsylvania Consumers. Prior to the

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 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 10 of 45




merger of Glaxo and SmithKline, two of the drugs of the GSK Defendants included ~ y t r i 1 ~

(granisetron) and zofran7 (ondansetron), which are used in the treatment of patients undergoing

cancer chemotherapy, among others.

                                         The Pfizer Defendants

       29.      Defendant, Pfizer, Inc. ( A P f i z e ~ )is, a Delaware corporation with its principal place

of business located at 235 East 42"" Street, New York, New York. With the merger of Pfizer and

Phar~naciaCorporation in 2002, Pfizer became the largest drug company in the world today.

       30.      Defendant, Phannacia Corporation (APhar~nacis),is a Delaware corporation with its

principal place of business located at 100 Route 206 North, Peapack, New Jersey. Phar~naciawas

created in April 2000 through the merger of Phar~nacia& Upjohn (AP&U-) with Monsanto

Company (AMonsanto-) and its G.D. Searle (Asearleg) unit.

       31.      Pfizer, Phar~nacia, P&U, Monsanto and Searle (collectively, the APfizer

Defendants-) are highly diversified healthcare companies that individually, and in combination with

one another, engage in the business of manufacturing, distributing, marketing and selling

prescription drugs purchased andlor reimbursed by the Colnlnonwealth and Pennsylvania

Consluners. The drugs of the Pfizer Defendants include ~ i ~ i t(atorvastatin
                                                                 or~          calcium), a drug used

to lower cholesterol, ~relstar' Depot (triptorelin panoate), for the treatment of prostate cancer,

anong others.

                                        The Alneen Defendants

       32.      Defendant Amgen, Inc. (AAmgen-) is a California corporation with its principal

place of business located at One Alngen Center Drive, Thousand Oaks, California. In 2002, Atngen
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 11 of 45




acquired hnnmunex Corporation (Ahnnmune~),a Washington corporation with its principal place of

business located at 51 University Street, Seattle, Washington.

          33.   Alngen and hnnmunex (collectively, the AAlngen Defendants-) are highly diversified

healthcare companies that individually, and in combination with one another, engage in the business

of manufacturing, distributing, marketing and selling prescription drugs purchased andor reimbursed

by the Colnlnonwealth and Pennsylvania Consluners. The drugs ofthe Alngen Defendants include

~ ~ o (epoetin
        ~ e alfa),
               n ~.4ranesp7 (darbepoetin alfa), and ~ e u ~ o (filgrastim
                                                               ~ e n ~ (G-CSF)), which are

used in the treatment of patients undergoing cancer chemotherapy, anong others.

                                     The Scherine Defendants

          34.   Defendant Schering-Plough Corporation (ASchering-Plougk) is a New Jersey

corporation with its principal place of business located at 2000 Galloping Hill Road, Kenilworth,

New Jersey. A wholly-owned subsidiary company of Schering-Plough is Warrick Phar~naceuticals

Corporation (AWarrick), a Delaware corporation with its principal place of business located at

6100 Neil Road #500, Reno, Nevada.

          35.   Schering-Plough and Warrick (collectively, the ASchering Defendants-) are highly

diversified healthcare companies that individually, and in combination with one another, engage in

the business of manufacturing, distributing, marketing and selling prescription drugs purchased

andor reimbursed by the Co~mnonwealthand Pennsylvania Consumers. The drugs ofthe Schering

Defendants include proventi17,which is used in the treatment of obstructive airways disease, anong

others.

                                  The Bristol-Mvers Defendants



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 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 12 of 45




       36.     Defendant, Bristol-Myers Squibb Company (ABristol-Myers-), is a Delaware

corporation with its principal place of business located at 345 Park Avenue, New York, New York.

Bristol-Myers includes Oncology Therapeutics Network Corporation (AOTN-), a Delaware

corporation with its principal place of business located at 395 Oyster Point Boulevard, Suite 405,

South, San Francisco, California, and Apothecon, Inc. (AApothecon-), with a principal place of

business located in Princeton, New Jersey (collectively Athe Bristol-Myers Defendants-).

       37.     The Bristol-Myers Defendants are highly diversified healthcare companies that

individually, and in combination with one another, engage in the business of manufacturing,

distributing, marketing and selling prescription drugs and drug products purchased andor reimbursed

by the Colnlnonwealth and Pennsylvania Consluners. The drugs and drug products of the Bristol-

Myers Defendants include ~ t o ~ o ~(etoposide)
                                     h o s ~ and vepesid7 (etoposide), which are used in the

treatment of various cancers, among others.

                                         The J&J Defendants

       38.     Defendant, Johnson & Johnson (AJ&J-) is a New Jersey corporation with its

principal place of business located at One Johnson & Johnson Plaza, New Brunswick, New Jersey.

J&J includes a number of subsidiary companies that manufacture, distribute, market and sell

prescription drugs, including, but not limited to, the following:

               I.      Alza Corporation (AAlza-) with its principal place of business located at

                       1900 Charleston Road, Mountain View, California, acquired from Defendant

                       Abbott in 2000;
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 13 of 45




                2.      Centocor, Inc. ( A C e n t o c o ~ )a, Pennsylvania corporation with its principal

                        place of business located at 244 Great Valley Parkway, Malvern,

                        Pennsylvania; and

                3.      Ortho Biotech, Inc. (AOrtho-), a New Jersey corporation with its principal

                        place of business located at 700 U.S. Highway, Route 202 South, Raritan,

                        New Jersey.

        39.     J&J, Alza, Centocor and Ortho (collectively Athe J&J Defendants-) are highly

diversified healthcare companies that individually, and in combination with one another, engage in

the business of manufacturing, distributing, marketing and selling prescription drugs purchased

andor reimbursed by the Colnlnonwealth and Pennsylvania Consluners. The drugs of the J&J

Defendants include viadur7, a drug that treats prostate cancer, procrit7, a drug that treats anemia in

cancer patients, ~ e m i c a d ea~drug
                                   , that treats rhelunatoid arthritis, and ~ o ~ a n aa xdrug
                                                                                            ~ , that treats

epilepsy, among others.

                                        The Aventis Defendants

        40.     Defendant Aventis Phar~naceuticals,Inc. (AAventis-) is a Delaware corporation with

its principal place of business located at 300 Somerset Corporate Boulevard, Bridgewater, New

Jersey. Aventis includes a nlunber of subsidiary companies that manufacture, distribute, market and

sell prescription drugs, including, but not limited to, the following:

                I.      Aventis Behring L.L.C. (AAventis Behring-), an Illinois limited liability

                        corporation with its principal place of business located at 1020 First Avenue,

                        King of Prussia, Pennsylvania;
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 14 of 45




                2.     Hoechst Marion Roussel, Inc. (AHoechst-), a Delaware corporation with its

                       principal place of business located at 10236 Marion Park Drive, Kansas City,

                       Missouri;

                3.     Centeon, L.L.C. (ACenteon-), a Pennsylvania corporation with its principal

                       place of business located at 1020 First Avenue, King of Prussia,

                       Pennsylvania; and

                4.     Armour Phar~naceuticals( A A r x n o ~ )a, Pennsylvania corporation with its

                       principal place of business located at 500 Arcola Road, Collegeville,

                       Pennsylvania.

       41.      Aventis, Aventis Behring, Hoechst, Centeon, and Armour (collectively, the Aventis

Defendants-) are highly diversified healthcare companies that individually, and in combination with

one another, engage in the business of manufacturing, distributing, marketing and selling

prescription drugs purchased andlor reimbursed by the Colnlnonwealth and Pennsylvania

Consluners. The drugs of the Aventis Defendants include ~ n z e m e t '(dolasteron mesylate), which is

used in the treatment of cancer patients, and Monoclate-P (factor viii), an antihelnorrahagic drug,

among others.

                                       The Baxter Defendants

       42.      Defendant Baxter International Inc. (ABaxter Internationak) is a Delaware

corporation with its principal place of business located at One Baxter Parkway, Deerfield, Illinois.

Baxter includes a number of subsidiary companies that manufacture, distribute, market and sell

prescription drugs, including, but not limited to, the following:
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 15 of 45




               I.      Baxter Healthcare Corporation (ABaxter Healthcare-),            a Delaware

                       corporation with its principal place of business located at One Baxter

                       Parkway, Deerfield, Illinois; and

               2.      hnnmuno-U.S., Inc. (Ahnnmuno-), a Michigan corporation with its principal

                       place of business located at 1200 Parkdale Road, Rochester, Michigan.

       43.     Baxter International, Baxter Healthcare and hnnmuno (collectively, Athe Baxter

Defendants-) are highly diversified healthcare companies that individually, and in combination with

one another, engage in the business of manufacturing, distributing, marketing and selling

prescription drugs purchased andlor reimbursed by the Colnlnonwealth and Pennsylvania

Consluners. The drugs ofthe Baxter Defendants include Recombinate (factor viii) and other factor

viii drugs, which are used to treat hemophilia, among others.

                                    The Boehringer Defendants

       44.     Defendant, Boehringer Ingelheiln Corporation (ABoehringer-),           is a Nevada

corporation with its principal place of business located at 900 Ridgebury Road, Ridgefield,

Connecticut. Boehringer includes a nlunber of subsidiary companies that manufacture, distribute,

market and sell prescription drugs, including, but not limited to, the following:

               I.      Bedford Laboratories (ABedfork), an Ohio corporation with its principal

                       place of business located at 300 Northfield Road, Bedford, Ohio;

               2.      Ben Venue Laboratories, Inc. (ABen Venue-), a Delaware corporation with

                       its principal place of business located at 300 Northfield Road, Bedford, Ohio;

                       and
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 16 of 45




               3.      Roxane Laboratories, Inc. (ARoxane-), an Ohio corporation with its principal

                       place of business located at Post Office Box 16532, Collunbus, Ohio.

       45.     Boehringer, Bedford, Ben Venue and Roxanne (collectively Athe Boehringer

Defendants-) are highly diversified healthcare companies that individually, and in combination with

one another, engage in the business of manufacturing, distributing, marketing and selling

prescription drugs to the Colnlnonwealth and Pennsylvania Consluners. The drugs of the Boehringer

Defendants include various albuterol and ipratropiuln bromide drug products, which are used in the

treatment of obstructive airways disease, and etoposide, which is used in the treatment of various

cancers, among others.

                                                B Y

       46.     Defendant, Dey, Inc. (ADey-), is a Delaware corporation with its principal place of

business located at 275 1 Napa Valley Corporate Drive, Napa, California. Dey is a highly diversified

healthcare company that engages in the business of manufacturing, distributing, marketing and

selling prescription drugs to the Co~ntnonwealthand Pennsylvania Consluners. Dey=s drugs include

~ c c u ~ e and
            b ' other drugs used in the treatment of obstructive airways disease, among others.

                                     JURISDICTION
                                               AND VENUE


       47.     The jurisdiction of this Court is founded upon 42 PA.CONS.STAT.ANN.3 761 which

gives the Colnlnonwealth Court jurisdiction over actions by the Colnlnonwealth government,

including those brought by any officer thereof acting in his official capacity.

       48.     This Court has personal jurisdiction over each Defendant either because the

Defendant resides in Pennsylvania , does business in Pennsylvania andor has the requisite lninilnlun

contacts with Pennsylvania necessary to constitutionally permit the Court to exercise jurisdiction.

                                                 15
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 17 of 45




       49.     The Colnlnonwealth brings this action exclusively under the common law and statutes

of the Colnlnonwealth of Pennsylvania. No federal claims are being asserted. No aspect of the

claims asserted herein is brought pursuant to any federal law, including either Medicare or ERISA,

nor is any aspect of the claims asserted herein brought for the purpose of interpreting a federal

contract, including the terms of the settlement agreements with each ofthe Criminal Defendants, or

the terms of an ERISA plan. Similarly, no attempt is being made to recover pursuant to claims that

were resolved as part of the aforesaid Criminal Actions. To the extent any clalln or factual assertion

set forth herein may be construed to have stated any clalln under federal law, or a claim for recovery

of benefits under an ERISA plan, such claim is expressly and undeniably disavowed and disclaimed

by the Commonwealth.

                            THE UNLAWFUL CONDUCT AT ISSUE

                            THEUNLAWFUL
                                      SCHEMEANDCONSPIRACY

       50.     As set forth in the Introduction to this Complaint, the drug companies named in this

lawsuit have engaged in an unfair and deceptive marketing and sales scheme and conspiracy to

provide improper incentives and inducements to medical providers and other purchasers of their

drugs to promote the sale of Defendants= drugs at exorbitant prices throughout the Colnlnonwealth

of Pennsylvania, to the detriment of both the Colnlnonwealth and Pennsylvania Constuners.

       5 1.    This unfair and deceptive marketing and sales scheme and conspiracy caused hann to

the Colmnonwealth and Pennsylvania Constuners by causing the Colmnonwealth and Pennsylvania

Constuners to pay more for Defendants= drugs than they otherwise would have paid in the absence

of Defendants= conduct.
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 18 of 45




       52.     The marketing and sales scheme and conspiracy detailed herein was formulated as

part of an overall plan and agreement of the Defendants to engage in unlawful and improper methods

of competition in the marketing and sales of their drugs and was carried out through a variety of

overt acts and practices to unlawfully obtain orders to purchase or prescribe Defendants= drugs that

were paid for by the Colnlnonwealth and Pennsylvania Consumers. These acts and practices include

straightforward Ayzridpr-o yzro-arrangements such as direct cash payments, as well as the provision

of free goods and drug samples for sale to patients, the provision of profits from spreads and other

direct financial inducements from Defendants

       53.     The goal of the marketing and sales scheme and conspiracy was to cause Defendants

drugs to be favored by medical providers and other purchasers above all other drug therapies and

modes or methods of healthcare treatment for particular health conditions.

       54.     Broadly speaking, there were at least four (4) types of acts and practices at the heart of

Defendants marketing and sales scheme and conspiracy:

               I.      establishing and promoting Aspreads- on prescription drugs (Apro~notionof

                       spreads-);

               2.      providing free goods and drug samples with the knowledge andor

                       expectation that medical providers and other purchasers would charge the

                       Colnlnonwealth and Pennsylvania Consumers for such free goods and drug

                       samples (Aprovision of free goods and drug samples-);

               3.      providing other fiancial incentives and inducements, as detailed more fully

                       herein, to induce sales of Defendants= drugs at exorbitant prices (Aother

                       financial inducements-); and

                                                  17
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 19 of 45




               4.      engaging in efforts to fraudulently conceal and suppress Defendants=

                       wrongful conduct to maintain the scheme and conspiracy (Afraudulent

                        concealment^).

       Each of these acts and practices is described more fully below.

       55.     The guilty pleas, settlements, and admissions of fault of the Criminal Defendants, by

and through the Criminal Actions, implicate these Defendants in what is known to be a far reaching

and widespread scheme in the pharmaceutical industry to unlawfully increase market share and

profits for their products. The underlying wrongful conduct admitted by the Defendants involved in

these resolutions is evidence that many of the Defendants herein have already admitted conduct in

the marketing and sales of their drug products in Pennsylvania which the Colmnonwealth contends

violates the common law and statutes of Pennsylvania as set forth herein. These guilty pleas and

settlements also demonstrate that the Colnlnonwealth and Pennsylvania Constuners have been

harmed by the admitted wrongdoing of certain Defendants for which these Defendants should pay

damages to the Colmnonwealth and Pennsylvania Consumers.

       56.     In January 2001, Bayer agreed to settle the federal crllninal investigation into B a y e ~ s

marketing and sales practices with respect to K 0 a ~ ~ ~Kogenate7,
                                                         and        and Bayer paid $14 million to

the federal and state governments. Then, in 2003, Bayer AG agreed to plead guilty to federal

crllninal charges and paid fmes and civil penalties totaling more than $257 with respect to the federal

crllninal investigation of the Bayer Defendants for, inter alia, illegally relabeling its drug cipro7 in

order to circumvent the Medicaid Rebate Program, 42 U.S.C. 3 1396r-8 thus defrauding the State

Medicaid programs of lnillions of dollars in rebate payments.
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 20 of 45




       57.     In October 2001, the TAP Defendants, in order to resolve federal criminal charges,

agreed to have Defendant TAP plead guilty to federal crllninal and civil fraud charges for, anong

other things, conspiring to violate the Prescription Drug Marketing Act (APDMA-) by, inter alia,

providing free sanples of ~ u ~ r too lnedical
                                       n ~     providers Aknowing and expecting- that these lnedical

providers would charge patients for such free samples. This conspiracy admitted by the TAP

Defendants was in violation of the federal conspiracy statute, I8 U.S.C. 3 371 (Conspiracy to

Commit Offense or to Defraud United States). TAP agreed to pay over $890 million in fmes and

civil penalties to the federal government and the fifty (50) states, including the Colnlnonwealth for

its Medicaid losses.

       58.     Like the TAP Defendants, in 2003, certain of the AstraZeneca Defendants agreed to

plead guilty to crllninal charges similar to those brought against the TAP Defendants. In particular,

these AstraZeneca Defendants pled guilty to federal criminal and civil fraud charges for, anong other

things, conspiring to violate the PDMA by, inter alia, providing free sanples ofzoladex7 to lnedical

providers Aknowing and expecting- that these lnedical providers would charge patients for such free

sanples. This conspiracy admitted by the AstraZeneca Defendants was in violation of the federal

conspiracy statute, I8 U.S.C. 3 371 (Conspiracy to Commit Offense or to Defraud United States).

The AstraZeneca Defendants paid $354.9 million in damages and fines to the federal and state

governments.

       59.     Like Bayer, in 2003, GlaxoSlnithKline PLC agreed to resolve a federal criminal

investigation and to pay fines and civil penalties to the federal and state governments totaling more

than $86 million to resolve claims against the GSK Defendants similar to those made against the

Bayer Defendants.

                                                 19
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 21 of 45




       60.      Lastly, in 2003, Pfizer also agreed to resolve a federal criminal investigation into its

marketing and sales practices. Pfizer admitted providing unrestricted Aeducational grants; to

customers designed to hide the true best price of ~ i ~ i t o r 'While
                                                                 .     this case does not involve any

Abest price; claims, the wrongdoing admitted by Pfizer that led to liability under federal law also

provides evidence of liability under state law B evidence of P f i z e ~ participation
                                                                         s             in the unfair and

deceptive scheme and conspiracy in this case, including, but not limited to, evidence that Pfizer

provided improper incentives and inducements to encourage sales of its products at inflated prices.

       61.     While a portion of the federal settlement proceeds from the above-described cases has

been returned to the states, including the Commonwealth, the Colnlnonwealth has not been

compensated fully for its losses from the wrongful conduct that these guilty pleas or civil settlements

evidence.

       62.      Moreover, the Criminal Actions have not compensated Pennsylvania Consumers who

were beneficiaries under federal programs like CHAMPUS and Medicare, and who paid inflated

percentage co-pays as the result of the Defendants= conduct.

       63.     Also, since the federal government has not investigated, charged andor settled with

all ofthe pharmaceutical companies alleged herein to be involved in the unfair and deceptive scheme

and conspiracy set forth in this Complaint, absent this litigation, the Colnlnonwealth and

Pennsylvania Consumers would not be able to recover the full amount of their damages caused by

the conspiracy.

                                        Promotion of Spreads

       64.      Much of the market for prescription drugs and drug products involves the prescription

and sale of drugs to patients at prices based, in whole or part, on the AAverage Wholesale Price,; or

                                                  20
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 22 of 45




the AAWP,- for such drugs. The AWP is not an Aaverage- of Awholesale- prices, as its name

suggests, but instead is a price that is controlled and set by the Defendant drug manufacturers.

       65.      The Defendants report the AWPs for their drugs to various pricing compendia, such

as the RedBook and FinvtData Bank, which, in turn, publish these AWPs in reference books that are

used and relied upon by both the public and private sector. The Defendants encourage lnedical

providers and other purchasers of Defendants= drugs to use the AWPs set by the Defendants in

billing the Colnlnonwealth and Pennsylvania Constuners for Defendants= drugs prescribed and sold

to patients throughout Pennsylvania.

       66.      The AWPs reported by Defendants do not represent prices actually paid in the

Colnlnonwealth of Pennsylvania by any lnedical provider or other purchaser of Defendants= drugs.

       67.      Instead, the Defendants inflated the AWPs for their drugs in order that public and

private payors of their drugs would pay prices for the drugs far in excess of any price actually paid by

lnedical providers and other purchasers.

       68.      In addition to controlling and setting the prices paid by the Colnlnonwealth and

Pennsylvania Consumers for their drugs B the AWPs B Defendants also control and set the prices

paid by their customers, the lnedical providers and other purchasers of their drugs. These acquisition

costs B i.e. the costs to acquire Defendants= drugs B are far below the AWP-based prices paid by the

Colnlnonwealth and Pennsylvania Constuners throughout the relevant time period.

       69.      The Defendants deeply discount the acquisition costs for their drugs far below the

AWP-based prices paid by the Colnlnonwealth and Pennsylvania Constuners for these sane drugs in

order to create Aspreads- between the acquisition costs and the AWPs.
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 23 of 45




       70.     By controlling and inflating the prices paid by patients and other payors, such as the

Pennsylvania Consumers and the Commonwealth, Defendants created and manipulated the spreads

for drugs sold directly to medical providers and for drugs sold through Pharmacy Benefit Managers

and drugs sold to other direct purchaser intermediaries by controlling and lnanipulating the discounts

and rebates that affect the spreads.

       71.     The Defendants have unlawfully promoted and~narketedspreads, and the profits to be

realized therefrom, to their customers throughout the relevant time period, and have fraudulently

concealed andor suppressed these spreads from the Colnlnonwealth and Pennsylvania Consumers.

       72.     The TAP Defendants and the AstraZeneca Defendants labeled the spreads for their

drugs AReturn to Practice- or ARTP- in order to conceal and suppress the fact that the spreads for

these companies= drugs were being marketed as profits and improper financial incentives and

inducements. While it is unknown at this time whether other Defendants adopted the s a n e exact

description of their sales and marketing scheme to promote spreads, it is believed and therefore

averred that all other Defendants marketed their spreads as a A r e t u r ~andor Aprofie to

Defendants customers.

       73.     Since all Defendants have controlled both the prices paid by their customers [i.e. the

acquisition costs] and the prices paid by their customers= customers [i.e. the AWPs], they have

promoted the spread between these two prices as an incentive or inducement to prescribe and sell

Defendants drugs. Defendants= marketing and sales practices have resulted in a perverted

Acompetitive- environment whereby the Defendants have sought to continually raise, inflate and fix

the AWPs for their drugs, which, in turn, has allowed Defendants to increase the prices paid by their
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 24 of 45




customers in order to continually increase their sales and the profits realized by both Defendants and

their customers for Defendants= drugs.

       74.     This Acompetitive~environment has not benefited either the Colnlnonwealth or

Pennsylvania Consluners. Instead, it has had the opposite effect. By Acompeting~on spreads,

Defendants have caused the Colnlnonwealth and Pennsylvania Consluners to pay more for

Defendants drugs than they otherwise would have paid in the absence of Defendants conduct.

                            Specific Examples of Promotion of Spreads

                                       Prostate Cancer Drugs

       75.     In the early 1990=s, there were two alternative drug therapies for prostate cancer,

Lupron7, manufactured, distributed, marketed and sold by the TAP Defendants, and zoladex7,

manufactured, distributed, marketed and sold by the AstraZeneca Defendants. Both of these drugs

had spreads, which were promoted to these Defendants= customers in order to induce medical

providers and other purchasers to recommend and prescribe drug therapies B like Lupron7 and

zoladex7 B over other available prostate cancer treatments.

       76.     Despite the fact that the acquisition cost for Lupron7 has traditionally been much

greater than the acquisition cost of other prostate cancer drugs, such as zoladex7, because the AWPs

(and therefore the spreads) also have been greater, Lupron7 has garnered the greatest share of the

market for prostate cancer treatment during the relevant time period. The same is true of other

physician-administered drugs (which tend to be very costly healthcare treatments.) The most

expensive drug therapies, i.e. those with the highest AWPs, tend to be the most widely prescribed
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 25 of 45




and recommended. It is believed and therefore averred that one reason for this phenomenon is that

Defendants= spreads have induced greater prescription and sales of Defendants= drugs.

                                        Other Cancer Drugs

       77.     As with the TAP Defendants, the AstraZeneca Defendants, the Bayer Defendants, the

Pfizer Defendants, and the J&J Defendants, all of whom have employed spreads for their respective

prostate cancer drugsB all Defendants naned herein have established and promoted spreads for their

respective cancer drug therapies, including, but not limited to, the drugs specifically naned in this

Complaint.

       78.     In addition to the foregoing examples, the TAP Defendants [ ~ a l c i j e x ~the
                                                                                             ] , GSK

Defendants [with respect to their drugs ~ y t r i lzofran7],
                                                   ~,        the Aventis Defendants [with respect to

their drugs ~ n z e m e t ~the
                            ] , Atngen Defendants [with respect to their drugs Epogen7,~ r a n e sand
                                                                                                   ~~,

~ e u ~ o ~ ethe
               n ~J&J
                   ] , Defendants [with respect to their drug procrit7], the Bristol-Myers Squibb

Defendants [with respect to their drugs Etopophos7 and vepesid7], and the Boehringer Defendants

[with respect to their drug etoposide] all have engaged in the aforesaid conduct of creating and

promoting spreads with respect to cancer treatments.
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 26 of 45




                                            Other Drugs

       79.     All Defendants have Acompetek in the establishment, maintenance, control,

promotion and marketing of spreads for drugs used to treat various other ailments as well, such as

prevacid7 [the TAP Defendants], cefotan7, Elavil Injection, Faslodex7, Foscavir7,            err em^,
Tenor1nin7 Injection and Xylocaine Injection [the AstraZeneca Defendants], K O ~ T EKogenate7,
                                                                                    ~,

and cipro7 [the Bayer Defendants], ~ i ~ i t and
                                              o r synare17
                                                  ~        [the Pfizer Defendants], Remicade7 and

Topamax7 [the J&J Defendants], Monoclate-P [the Aventis Defendants], and Recombinate [the

Baxter Defendants].

       80.     For example, the J&J Defendants= drug Remicade7 is presently the only drug

treatment for rhetunatoid arthritis that is reimbursed by the Medicare Program. Until 2002, J&J=s

website for Remicade7contained a spreadsheet that demonstrated for medical providers how much

money they could make by billing Medicare for Remicade7 at AWP. As a result, Remicade7 has

been the most widely prescribed and sold rhetunatoid arthritis treatment.

       8 I.     All Defendants have chosen to compete on increasing the AWPs and decreasing the

acquisition costs for their drugs, thereby increasing the spreads, rather than to compete to lower the

prices paid by the Colnlnonwealth and Pennsylvania consumers on the basis, in whole or in part, on

the AWP=s for the Defendant=s drugs.

       82.     All Defendants have conspired and agreed with one another, and with medical

providers and their other purchasers, to maintain and charge inflated AWPs, to establish and realize

profits from the spreads for drugs, and to otherwise engage in the unlawful Acornpetition- of

creating, maintaining, realizing and promoting the profits from spreads for drugs. As aresult of such
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 27 of 45




improper marketing and sales scheme, and the conspiracy and agreement of all Defendants to take

part in such scheme, the Colnlnonwealth and Pennsylvania Constuners have been harmed by paying

more for drugs than they otherwise would have paid in the absence of Defendants= unlawful

conduct.

        83.     The unlawfulness of Defendants= marketing and sales scheme through the utilization

of spreads is evidenced by the fact that TAP, AstraZeneca and Bayer all must report to the federal

government today what have been deemed their actual Aaverage sales prices- or AASPs- for certain

of their drugs B as part of their respective Corporate Integrity Agreements in the Criminal Actions.

These ASPS are intended to represent the true average sales prices for these Defendants= drugs

because they are prices that are net of all discounts, including free goods, rebates and other financial

incentives offered to Defendants= customers. It is believed and therefore averred that these Crllninal

Defendants have not acted alone with respect to their admittedly wrongful marketing and sales

activities with respect to spreads; rather, it is averred that they acted with the acknowledglnent and

agreement of the other Defendants named herein to so act.

                            Provision of Free Goods and Drug Samples

        84.     Defendants provided free goods, drug samples and non-billed units of their drugs

(collectively Afree goods and drug samples-) to medical providers and other purchasers with the

knowledge and the expectation that medical providers and other purchasers that are the recipients of

such free goods and samples would charge constuners to whom the free goods and samples were

administered, in order to induce the providers and other purchasers thereof to prescribe and sell

Defendants= drugs over competing drugs or alternative forms of medical care and treatment.
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 28 of 45




       85.     Apart from the use of free goods and drug samples as a Ayzridpro yzro- incentive or

inducement, certain Defendants are known to have used free goods and drug samples as a method of

providing hidden price concessions or reductions in the acquisition costs for their drugs. These

Defendants provided such free goods and drug samples with the knowledge and expectation that the

free goods would be billed by Defendants customers to the Colnlnonwealth and Pennsylvania

Consumers.

       86.     Defendants offers of free goods and drug sanples included not only free shipments

of drugs and drug sanples, but also free product bundled with other products, such as Abuy ten get

one free- deals, as well as other arrangements to provide credit, or to forgo payment, for product

already delivered.

       87.     Defendants used the provision of free goods and drug sanples as another form of

improper incentive or inducement to cause medical providers and other purchasers to prescribe and

sell Defendants= drugs.

       88.     The Colnlnonwealth and Pennsylvania Consluners were harmed by Defendants=

conduct in providing free goods and drug sanples as an inducement in at least two ways: (I) by

paying for the costs of the free goods and drugs sanples unlawfully billed, and (2) by otherwise

paying the inflated AWPs for Defendants= drugs as a result of Defendants use of free goods and

drug sanples as an improper Ayzridpro yzro- incentive to promote the sales of their drugs.

       89.     Defendant TAP=s guilty plea to conspiracy, which plea was approved by both Abbott

and Takeda, each of whom controlled one-half of TAP=s Board of Directors, involved an admission

by TAP to conspiring to violate the PDMA by, inter alia, providing free samples of ~ u ~ r o to
                                                                                             n'
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 29 of 45




lnedical providers Ahowing and expecting- that these lnedical providers would charge patients for

such free sanples. As a result, Medicare, Medicaid, and other insurance programs administered by

the Colnlnonwealth suffered losses, as did Pennsylvania Consluners, for having paid for those free

sanples. Although the TAP Defendants paid over $890 million in fines and civil penalties to the

federal government as part of said guilty plea, no money was paid to the Colmnonwealth for losses

suffered under Colmnonwealth prograns, other than Medicaid, and no money was paid to

Pennsylvania Consumers.

       90.     In its guilty plea to federal conspiracy charges, AstraZeneca also admitted that it

conspired to violate the PDMA by, inter alia, providing free samples of zoladex7 to lnedical

providers Ahowing and expecting- that these lnedical providers would bill patients for such free

sanples. As a result, Medicare, Medicaid, and other insurance prograns administered by the

Colnlnonwealth suffered losses, as did Pennsylvania Consluners, for having paid for those free

sanples. Although the AstraZeneca Defendants paid $354.9 million in fmes and penalties to federal

and state governments, including the Commonwealth, no money was paid to the Commonwealth,

other than Medicaid, for losses suffered under Colnlnonwealth prograns and no money was paid to

Pennsylvania Consumers.

       91.     The Alngen Defendants have been implicated indirectly in the wrongful conduct of

providing free goods and drug samples by the criminal guilty plea and settlement one of their largest

customers, National Medical Care (ANMC-).         NMC pled guilty to federal criminal charges for

having billed Medicare for free sanples of Alngen Defendant drugs provided by the Alngen

Defendants.

                                   Other Financial Inducements

                                                 28
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 30 of 45




        92.     Other financial inducements include the provision of trips, consulting opportunities,

seminars, gifts, meals and other cash payments.

        93.     All Defendants provided such incentives and inducements in order to promote the sale

of their drugs at inflated prices.

                                       Fraudulent Concealment

        94.     Defendants scheme and conspiracy included efforts to conceal and suppress their

acts and practices, such as the marketing and manipulation of the spreads on prescription drugs.

        95.     Defendants concealed their fraudulent conduct from the Colnlnonwealth and

Pennsylvania Consumers by controlling the process and~nethodologyby which their AWPs were set.

Defendants also preventedthe Colntnonwealth and Pennsylvania Constuners kom knowing what the

actual acquisition costs were to medical providers and others for their drugs, and they concealed and

suppressed from the Colnlnonwealth and Pennsylvania Constuners their provision of kee goods and

drug samples and other inducements to medical providers and others to induce them to prescribe

Defendants drugs. Moreover, Defendants wrongful conduct was of such a nature as to be

self-concealing.

        96.     The Colntnonwealth and Pennsylvania Consumers were diligent in pursuing an

investigation of the claims asserted in this Complaint. Through no fault of their own, neither the

Colnlnonwealth nor Pennsylvania Constuners received inquiry notice or learned of the factual basis

for their claims in this Complaint or their injuries suffered therekom until recently. In fact, while the

recent federal criminal investigations have uncovered a pattern of unlawful conduct by the

Defendants involving the promotion of spreads and the provision of free goods and drug samples,

among other things, neither the Colnlnonwealth nor Pennsylvania Constuners know today what the
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 31 of 45




spreads are, or have been, for Defendants= various prescription drugs because only the Defendants

and their customers know the actual acquisition costs for the drugs net of all discounts, incentives

and inducements.

       97.     By reason of the foregoing, the claims of the Colnlnonwealth and Pennsylvania

Constuners are timely under any applicable statute of limitations pursuant to the discovery rule

andor the doctrine of fraudulent conceahnent.

       98.     The Defendants have been aware of their wrongful conduct and conspiracy since at

least 1991, and probably before that time.

       99.     The Defendants= failure to properly disclose their wrongful conduct and conspiracy,

and other acts and omissions as alleged herein, was and is willful, intentional, wanton, malicious,

outrageous, and was and continues to be undertaken in deliberate disregard of, or with reckless

indifference to, the rights and interests of the Colnlnonwealth and Pennsylvania Constuners.

              HOW THESCHEMEAND CONSPIRACY
                                        HARMEDTHE COMMONWEALTH
                          ANDPENNSYLVANIACONSUMERS

       100.    The Colnlnonwealth reitnburses Defendants for prescription drugs provided to its

citizens under the terms of certain programs, such as the Medicaid program , the Phar~naceutical

Assistance Contract for the Elderly, or APACE- progran, as well as other programs for

Colnlnonwealth employees, teachers, state employees and others not specifically mentioned herein.

       101.    For these programs, the reimbursement for the prescription drugs is based upon the

AWP for the drug. For example, the Colnlnonwealth reitnburses medical providers an amount equal

to AWP minus ten percent, plus a dispensing fee, for drugs prescribed to patients in the Medicaid

program.
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 32 of 45




       102.    Thus, when drug companies intentionally inflate the AWP and lower the acquisition

costs in order to manipulate and lnarket the spread for drugs, the companies increase the

reitnburselnent amount paid by the Colnlnonwealth to medical providers in those programs.

       103.    The Co~mnonwealthalso is a purchaser andor reitnburser of prescription drugs. For

example, the Colnlnonwealth purchases prescription drugs for its employees through the

Pennsylvania Employees Benefit Trust Fund (the APEBTF-) for its current and retired employees.

       104.    The PEBTF has used a variety of Pharmacy Benefit Managers to administer the

prescription drug benefits for the Commonwealth=s active and retired employees. While the

Pharmacy Benefit Managers have changed over time, each Pharmacy Benefit Manager has used

AWP as a component of a formula to determine the Commonwealth=s prescription costs.

       105.    Thus, when drug companies intentionally inflate the AWP in order to manipulate and

lnarket the spread for drugs, the companies increase the amounts paid by the Colnlnonwealth for its

employees and others, and also increases the co-pays paid by the employees themselves.

       106.    Pennsylvania Constuners buy prescription drugs and many citizens pay for those

drugs based in whole or in part on the AWP for the drugs.

       107.    Like the Commonwealth, many Pennsylvania Consumers buy prescription drugs

through a health plan administered by a Pharmacy Benefit Manager or insurer that uses AWP as a

component of a formula to determine prescription drug costs, and computes a co-payment based

upon the purchase price of the drug.

       108.    Thus, when drug companies intentionally inflate the AWP in order to manipulate and

lnarket the spread for drugs, the companies increase the amounts paid by the Pennsylvania

Constuners for prescription drugs that they purchase through these health plans.


                                                31
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 33 of 45




        109.    In particular, Pennsylvania Constuners who purchase prescription drugs under the

Medicare program pay more for prescription drugs when AWP is intentionally inflated. The

Medicare program reimburses medical providers based upon the AWP for covered drugs. Under the

program, senior citizens participating in the federal Medicare program pay 20 percent of the

allowable cost of drugs reimbursed (the federal government pays 80 percent)

        110.    Thus, when drug companies intentionally inflate the AWP in order to manipulate and

market the spread for drugs, the companies increase the Medicare co-payment required of senior

citizen Pennsylvania Consumers.

                                         COUNT I
                                    UNJUST ENRICHMENT

        11 1.   The Colnlnonwealth hereby incorporates by reference thereto the averments of the

preceding paragraphs hereof as if fully set forth herein and further alleges as follows.

        112.    The Colnlnonwealth and Pennsylvania Constuners have conferred benefits on

Defendants.

        113.    Defendants have appreciated and retained the benefits conferred on them by the

Colnlnonwealth and Pennsylvania Constuners.

        114.    By engaging in the conduct described in this Complaint, Defendants have knowingly

obtained benefits from the Co~ntnonwealthand Pennsylvania Constuners under circtunstances such

that it would be inequitable and unjust for these Defendants to retain them without payment of value.

        115.    For example, as more fully set forth herein, Defendants, through the spreads created

and promoted by them for their drugs, have collected payments for drugs from the Colnlnonwealth
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 34 of 45




and Pennsylvania Constuners which payments vastly exceeded the payments to which Defendants

are entitled as a matter of law

        116.    Defendants will be unjustly enriched if they are permitted to retain the full amounts

paid to them by the Colnlnonwealth and Pennsylvania Constuners, either directly or indirectly. The

claims of the Colnlnonwealth and Pennsylvania Constuners seek to recover the payments made by

Colnlnonwealth Programs and Pennsylvania Consumers for Defendants= drugs.

        117.    The Colmnonwealth and Pennsylvania Constuners are therefore entitled to an award

of compensatory damages in an amount to be determined at trial, or the imposition of a constructive

trust upon the profits derived by Defendants by means of the overcharges they imposed upon the

Colnlnonwealth and Pennsylvania Constuners

       WHEREFORE, the Commonwealth, on behalf of itself and Pennsylvania Constuners,

respectfully seeks the relief set forth below.

                                          COUNT I1
                                  MISREPRESENTATIONIFRAUD

        I 18.   The Colnlnonwealth hereby incorporates by reference thereto the averments of the

preceding paragraphs hereof as if fully set forth herein and further alleges as follows.

        119.    By acting andor failing to act as alleged in this Complaint, Defendants have

negligently andlor intentionally misrepresented the prices of their drugs paid for by the

Colnlnonwealth and Pennsylvania Constuners andor they have committed fraud on the

Colnlnonwealth and Pennsylvania Constuners

        120.    Defendants, by their acts and omissions set forth herein, have knowingly,

intentionally, recklessly andor negligently have made false and fraudulent material statements and
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 35 of 45




representations and material omissions of facts relating to the costs of their drugs, which

lnisrepresentations andor omissions, include, but are not limited to, establishing and reporting

inflated AWPs for their drugs; promoting spreads for such drugs to Defendants= customers;

providing free goods and drug samples to their customers with the knowledge andor expectation that

such customer would charge for such free goods and drug samples; providing other incentives and

inducements to their customers to unduly influence decisions about the prescription and sale of

Defendants drugs; and working alone and in conjunction their with co-Defendants, customers and

others to conceal their conduct from the Colmnonwealth and Pennsylvania Consluners.

        12 1.   Defendants intended that the Colmnonwealth and Pennsylvania Consluners would be

misled by their aforesaid acts and omissions and would rely on their lnisrepresentations and

omissions to their detriment.

        122.    The Colmnonwealth and Pennsylvania Consumers were misled and did, reasonably

and justifiably rely to their detriment on the misrepresentations and omissions by Defendants.

        123.    As a direct and proximate result of Defendants= misrepresentations and omissions,

and the conceahnent and suppression of that conduct by Defendants, the Colnlnonwealth and

Pennsylvania Consumers have suffered and will continue to suffer damages.

        124.    In addition, Defendants concealed and suppressed andor o~nittedlnaterialfacts about

their unlawful agreements and discussions with one another and others, and they concealed and

suppressed their unlawful acts and omissions as set forth more fully herein.

        125.    As a result of Defendants acts of conceahnent and suppression, and their

lnisrepresentations as to the true costs oftheir drugs, especially the fact that some of their drugs were

provided for free, the Colmnonwealth and Pennsylvania Consumers were unaware of the

                                                   34
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 36 of 45




above-referenced facts, and would not have paid the artificially inflated prices for Defendants= drugs

had they known of the facts Defendants misrepresented, concealed, suppressed and omitted.

        126.   Indeed, one requirement of the federal govermnentks settlements of the criminal

charges against TAP, Bayer, AstraZeneca and the GlaxoSlnithKline Defendants is that all these

Defendants must now report the true, average sales prices (or AASPsz) of their respective drugs to

the government and must allow regular auditing of their sales and marketing practices to ensure that,

among other things, there is more transparency in pricing for the benefit of the Colnlnonwealth and

that a true average sales price for these Criminal Defendants= drugs is, in the future reported

       WHEREFORE, the Commonwealth, on behalf of itself and the Pennsylvania Consumers,

respectfully seeks the relief set forth below.

                                          COUNT 111
                                      CIVIL CONSPIRACY

        127.   The Colnlnonwealth hereby incorporates by reference thereto the averments of the

preceding paragraphs hereof as if fully set forth herein and further alleges as follows.

        128.   As set forthmore fully above, beginning at least as early as 1991, the exact date being

unknown to the Colnlnonwealth and Pennsylvania Consumers, and continuing thereafter until the

present, Defendants, between and among themselves and others, entered into an agreement andor

otherwise engaged in a continuing conspiracy to deceive and defraud the Colnlnonwealth and

Pennsylvania Consumers by causing them to pay more for Defendants= drugs than they otherwise

would have in the absence of Defendants= conspiracy.

        129.   Pursuant to the widespread unfair and deceptive marketing and sales scheme and

conspiracy alleged herein, and in furtherance thereof, Defendants and their co-conspirators engaged
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 37 of 45




in a wide range of activities, the purpose and effect of which was to deceive and defraud consumers,

including Pennsylvania Consumers, and the states, including this Commonwealth, and to act or take

substantial steps in furtherance of the conspiracy. Those acts include the following:

               I.      Defendants discussed and agreed anong themselves and with their

                       co-conspirators that they would provide free goods and drug samples to

                      medical providers and other purchasers of their drugs and encouraged them to

                       charge for such free goods and drug samples.

               2.      Defendants discussed and agreed anong themselves and with their

                       co-conspirators that they would inflate the AWPs for their drugs.

               3.      Defendants discussed and agreed anong themselves and with their

                       co-conspirators that they would establish, market and promote spreads

                       between the AWPs and the actual acquisition costs for their drugs as an

                       incentive and inducement for medical providers and other purchasers to

                       prescribe, or cause to be prescribed, and to sell, or cause to be sold, their

                       drugs instead of other drugs or alternative modes and methods ofhealthcare

                      treatment.

               4.      Defendants discussed and agreed anong themselves and with their

                       co-conspirators that they would provide other inducements and incentives to

                      medical providers and others to prescribe, or cause to be prescribed, or to sell,

                       or cause to be sold, their drugs, instead of other drugs or alternative modes

                       and methods of healthcare treatment.
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 38 of 45




               5.      Defendants discussed and agreed anong themselves and with their

                       co-conspirators that they would work together and with others to oppose and

                       avoid efforts to reduce prescription drug costs andor to change the way in

                       which payors reimburse for prescription drugs, and that they would act to

                       conceal and suppress their conduct to prevent detection by others, including

                       the Colmnonwealth and Pennsylvania Constuners

        130.   Defendants performed these acts alleged herein in furtherance ofthe common plan or

design for the conspiracy with intent, malice andor with knowledge of the injury and damage it

would cause to the Colnlnonwealth and Pennsylvania Constuners and with knowledge and intent to

cause such injuries andlor with reckless disregard for the consequences

        131.   As a direct and proximate result of Defendants= conspiracy as alleged herein, the

Colnlnonwealth and Pennsylvania Constuners have been injured and damaged, and Defendants are

jointly and severally liable for such injuries and damages

       WHEREFORE, the Commonwealth, on behalf of itself and Pennsylvania Constuners,

respectfully seeks the relief set forth below.

                               COUNT IV
                    VIOLATION OF THE PENNSYLVANIA
          UNFAIR TRADE PRACTICE AND CONSUMER PROTECTION LAW

        132.   The Colmnonwealth hereby incorporates by reference thereto the averments of the

preceding paragraphs hereof as if fully set forth herein and further alleges as follows.

        133.   The Commonwealth, and the individuals and other entities for which it brings the

instant action are Apersons~within the meaning of 73 P.S.3 201-2(3)
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 39 of 45




        134.     In distributing, marketing, and selling prescription drugs to the Colnlnonwealth and

Pennsylvania Consluners, and in otherwise engaging in the conduct more fully described herein,

Defendants are engaging in trade or commerce directly or indirectly affecting the people of this

Colnlnonwealth within the meaning of 73 P.S. 3 201-2(3).

        135.     The Defendants, by engaging in the practices set forth above, have:

                 1.     Misled the Co~n~nonwealth
                                               and the entities and consu~nerson whose behalf

                        this action is brought that Defendants= drugs are being sold or provided at

                        legally permissible prices;

                 2.     Forced consluners to pay inordinately high cash prices andor co-payments

                        resulting from the reporting of inflated AWPs for needed prescription drugs;

                 3.     Improperly influenced medical providers and other purchasers through

                        practices more fully set forth in preceding counts to prescribe drugs with

                        inflated AWPs to the detriment of consluners;

                 4.     Engaged in conduct actionable under the preceding counts of this Complaint

                        andor engaged in conduct in violation of the statutes and laws of the

                        Commonwealth.

        136.     The Pennsylvania Consluners purchased Defendants= products for personal, family or

household use.

        137.     Defendants= conduct as more fully described herein constitutes unfair methods of

competition and unfair or deceptive acts or practices within the meaning of 73 P.S. 3 201-2(4),

including, but not limited to, the following:
Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 40 of 45




         I.   causing likelihood of confusion or misunderstanding as to the source,

              sponsorship, approval or certification of goods or service, within the lneaning

              o f 7 3 P.S. 3 201-2(4)(ii);

         2.   representing that      goods or services have         sponsorship,    approval,

              characteristics, ingredients, uses, benefits or quantities that they do not have

              or that a person has a sponsorship, approval, status, affiliation or connection

              that he does not have within the lneaning of 73 P.S. 3 201-2(4)(v);

         3.   advertising goods or services with the intent not to sell them as advertised

              within the lneaning of 73 P.S. 3 201-3(4)(ix);

         4.   making false or misleading statements of fact concerning the reasons for,

              existence of, or amounts of price reductions within the lneaning of 73 P.S. 3

              20 1-2(4)(xi);

         5.   promising or offering prior to the time of sale to pay, credit or allow to pay

              buyer, any compensation or reward for the procurement of a contract for

              purchase of goods or services with another or others, or for the purpose of

              attempting to procure or procuring such as contract of purchase with such

              other person or persons when such payment, credit, compensation, or reward

              is contingent upon the occurrence of an event subsequent to the time of the

              signing of a contract to purchase within the lneaning of 73 P.S. 3 201-

              2(4)(xii); and
 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 41 of 45




                 6.     engaging in any other fraudulent or deceptive conduct which creates a

                        likelihood of confusion of lnisunderstanding within the meaning of 73 P.S. 3

                        20 1-2(4)(xxi).

        138.     Defendants conduct more fully described herein, is, accordingly, proscribed and

declared unlawful by 73 PA. STAT.3 201-3.

        139.     Defendants conduct as more full described herein was willful within the meaning of

73 P.S. 3 201-8.

        140.     The Attorney General has determined that these proceedings to enjoin Defendants=

conduct are in the public interest.

        141.     The Colnlnonwealth therefore seeks the entry of a permanent injunction restraining

Defendants unlawful conduct and mandating corrective measures pursuant to 73 P. S. 3 201-4.

        142.     The Colnlnonwealth also requests that the Court require Defendants to restore to the

Colnlnonwealth and Pennsylvania Constuners monies acquired from the sale of their prescription

drugs during the period oftllne Defendants unlawful conduct took place, pursuant to 73 P. S. 3 201-

4.1.

        143.     In addition, and in light of Defendants= willful and violative conduct as herein

described, the Colnlnonwealth requests that the Court award a civil penalty to the Colnlnonwealth

not exceeding:

                 I.     as to affected Pennsylvania Constuners under the age of sixty (60) years,

                        $1,000.00 per violation per Defendant, and

                 2.     as to affected Pennsylvania Constuners sixty (60) years of age or older,

                        $3,000 per violation per Defendant.

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 Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 42 of 45




       144.   The violations by the Defendants include, but are not limited to:

               I.     each sale to a lnedical provider or anyone else with the understanding and

                      expectation that a lnedical provider will charge the patient at the inflated

                      AWP price;

              2.      each time the lnedical provider charges a patient at the inflated AWP price;

              3.      each delivery of a free sanple to a lnedical provider with the understanding

                      and expectation that the provider will charge the patient for that free sanple;

              4.      each time the lnedical provider charges a patient for a free sanple;

              5.      each time an incentive is given to anyone to cause a patient to be billed at the

                      inflated AWP;

              6.      each time a patient is charged at the inflated AWP as a result of incentives

                      given by or on Defendants behalf;

              7.      each request for reimbursement made to a Co~ntnonwealthprogram;

               8.     each publication of an inflated AWP; and

              9.      each time a patient andlor his or her insurer is charged at an inflated AWP.

       145.   Defendants are liable for their actions and the actions oftheir co-conspirators for each

of these violations as independent unfair and deceptive acts in violations of the UTPCPL, and for

their course of conduct comprising an unfair and deceptive practice in violation of the UTPCPL.

       146.   As a result of the Defendants= unfair and deceptive trade practices, the

Colnlnonwealth and Pennsylvania Consumers have and will continue to suffer ascertainable loss and

damages in an amount to be determined at trial.
  Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 43 of 45




       WHEREFORE, the Commonwealth, on behalf of itself and Pennsylvania Constnners,

respectfully seeks the relief set forth below.

                                           AD DAMNUM

       WHEREFORE, the Colnlnonwealth demands the following:

                I.     Judgment in its favor, and against Defendants;

                2.     Compensatory damages;

                3.     The entry of an Order permanently enjoining each and every Defendant from

                       continuing the deceptive andor unfair acts or practices complained ofherein,

                       and requiring corrective measures;

                4.     On behalf of itself and Pennsylvania Consumers, disgorgelnent by

                        Defendants, and each of them, of all profits and gains earned in whole or in

                        part through the unfair andor deceptive acts or practices complained of

                       herein;

                5.      On behalf of itself and Pennsylvania Constnners, compensatory damages;

                6.      On behalf of itself and Pennsylvania Constnners, statutory restitution ;

                7.      On behalf of itself and Pennsylvania Constnners, exemplary and punitive

                        damages in an amount in excess of the j~lrisdictionallimit;

                8.      In its own right, civil penalties in the amount of $1,000 per violation of the

                        Unfair Trade Practice and Constnner Protection Law, and $3,000 per

                        Defendant for each violation involving a victim 60 years old or older;

                9.      All elements of interest, including but not limited to pre- and post-judgment

                        interest;
Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 44 of 45




         10.    Attorneys fees, expert witness fees, costs of investigation, and other

                reasonably related costs, including court costs, litigation expenses, and fees;

         I I.   The entry of an Order permanently enjoining each and every Defendant from

                continuing the deceptive andor unfair acts or practices complained ofherein,

                and requiring corrective measures; and

         12.    Such other and further relief as the Court deems just and appropriate.
Case 1:01-cv-12257-PBS Document 6197-7 Filed 06/26/09 Page 45 of 45




                                   JURY DEMAND

    The Co~mnonwealthdemands a trial by jury of all issues so triable in this cause

                                         Respectfully submitted,

                                         COMMONWEALTH  OF P E N N S ~ V A M A
                                             OFFICE OF THE ATTORNEY    GENERAL


                                       BY:ppppppppppp




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